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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

---------------------------------------------------------   X
KWIK TICKET INC.,                                           :
by its 50% owner, FLORENCE SHAMAH,                          :
and FLORENCE SHAMAH, Individually,                          :   Case No. 20-cv-01201-FB-SJB
                                                            :
                                    Plaintiff,              :
                                                            :
                   -against-                                :
                                                            :
LARRY SPIEWAK, et al.,                                      :
                                                            :
                                    Defendants.             X
---------------------------------------------------------




                        MEMORANDUM OF LAW OF
   DEFENDANTS LARRY SPIEWAK, MINDY SPIEWAK, AND MALKAH JACOBOVITS
     IN SUPPORT OF THEIR MOTION TO COMPEL, MOTION TO DISMISS, AND
                           MOTION TO STRIKE




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           Defendants Larry Spiewak, Mindy Spiewak, and Malkah Jacobovits (“the Spiewak

 Defendants”) respectfully submit this Memorandum of Law in support of their motion to (i)

 compel the arbitration of this action, (ii) dismiss certain causes of action in the Amended

 Complaint filed by Plaintiff Florence Shamah through her attorney-in-fact Isaac Shamah

 (“Plaintiff”) pursuant to Fed. R. Civ. P. 12(b)(6), and (iii) to strike certain allegations pursuant to

 Fed. R. Civ. P 12(f).1

                                  PRELIMINARY STATEMENT

           Isaac Shamah is a serial litigator who has sued, among others, his own brothers.2 This

 litigation, which Isaac brings as the purported attorney-in-fact for his mother, Florence Shamah, is

 principally against the Spiewaks, who were business partners for forty years with Isaac Shamah’s

 late father, David Shamah, and then with his mother, Florence Shamah. During the course of their

 partnership, Larry Spiewak successfully operated Kwik Ticket, while the Shamahs were passive

 investors. The current litigation began after Isaac attempted to obtain control over Kwik Ticket,

 Inc. (“Kwik Ticket” or the “Company”) and when that attempt failed, he started to fraudulently

 hold himself out as the CEO of Kwik Ticket. Kwik Ticket ultimately had to obtain an order from

 the New York State Supreme Court, Kings County, prohibiting Isaac from interfering with Kwik

 Ticket.

           In response, Isaac, purporting to act as his mother’s attorney-in-fact, filed this lawsuit

 alleging that the Spiewaks, in concert with Kwik Ticket’s bookkeeper and accountant, had engaged

 in a twenty-year, multimillion dollar scheme to defraud Kwik Ticket. These allegations are

 completely false, and the Spiewak Defendants look forward to vindicating themselves on the



 1
  This Court granted leave to file a brief of up to 35 pages on July 1, 2021.
 2
  See, e.g., Isaac Shamah v. Steven Shamah, Ronald Shamah et al., Docket No. 650215/2011 (Sup
 Ct. N.Y. County Jan 26, 2011).


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 merits. However, even at this preliminary stage, Plaintiff’s Amended Complaint suffers from

 several fatal defects.

         First and foremost, this Court should grant the motion to compel this case to arbitration.

 The Kwik Ticket Shareholders’ Agreement (“the Shareholders’ Agreement”), like the operating

 agreements of many closely held businesses, contains an arbitration provision that allows the

 parties to resolve disputes efficiently and confidentially. The Shareholders’ Agreement arbitration

 provision is broad and unambiguous, stating: “Any dispute relating to or arising out of this

 agreement shall be resolved by arbitration before three arbitrators in the City of New York under

 the rules then obtaining of the American Arbitration Association.” Plaintiff and Mr. Spiewak are

 parties to the Shareholders’ Agreement, and Plaintiff’s claims clearly arise out of and relate to the

 Shareholders’ Agreement. Mrs. Spiewak and Malkah Jacobovits are also entitled to compel

 arbitration because they are Kwik Ticket employees and Kwik Ticket is a signatory to the

 Shareholders’ Agreement.

         Alternatively, if this Court does not compel arbitration, it should dismiss several of

 Plaintiff’s claims instead. Plaintiffs’ RICO claims should be dismissed because this case is not

 about a large, interstate civil conspiracy, but is instead based on allegations of “garden variety”

 fraud. In particular, Plaintiff provides no allegations that would establish an enterprise, two or

 more predicate acts, relatedness, continuity, and interstate commerce. Each of these is an essential

 requirement of a RICO claim, but they are not present in this case, and the two RICO claims

 accordingly failed.

         Plaintiff’s claims for conversion and for a preliminary and permanent injunction should

 also be dismissed. The conversion claim is not applicable to this case because conversion requires

 the plaintiff to have a possessory right in the contested “property,” but an ownership share in a




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 company is not “property” for a conversion claim. Meanwhile, the claim for a preliminary and

 permanent injunction fails because this Court has already ruled that Plaintiff is unable to show

 irreparable harm.

        Finally, this Court should strike several paragraphs in Plaintiff’s Amended Complaint that

 were added to harass and embarrass Mr. Spiewak, rather than pursue a valid claim. The Amended

 Complaint alleges that Mr. Spiewak engaged in sexual conversations with his employees, and that

 two of these conversations were secretly recorded without Mr. Spiewak’s knowledge. Plaintiff

 not only transcribed the conversations in the Amended Complaint, she also uploaded the audio

 files onto YouTube and made them publicly available. These new allegations have no effect on

 Plaintiff’s claims, and were added simply to try to embarrass and humiliate Mr. Spiewak. Such

 allegations should therefore be stricken from the record.

                            STATEMENT OF RELEVANT FACTS

 I.     Mr. Spiewak Is The President And Sole Operating Partner Of Kwik Ticket

        Kwik Ticket is a corporation organized under New York law with its principal place of

 business in New York. Am. Compl. ¶ 9, Dkt. No. 81. Mr. Spiewak is Kwik Ticket’s president

 and has been the sole operating partner of the company and solely responsible for its daily

 operations.   Decl. of Larry Spiewak at ¶¶ 1-11, Dkt. No. 21.          He founded Kwik Ticket

 approximately forty years ago, and has grown it into a successful business. Id. at ¶ 5.

        At the time Kwik Ticket was formed, the parties entered into a Shareholders’ Agreement,

 and Plaintiff, Mr. Spiewak, and the Company are all signatories to the Shareholders’ Agreement.3




 3
   Kwik Ticket was initially known as Swift Ticket Inc., but it changed its name to Kwik Ticket,
 Inc. in 1982. Am. Compl. ¶ 9.


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 See Declaration of S. Kadosh, Exhibit 1.4 The Shareholders’ Agreement contains a broad and

 unambiguous arbitration provision stating: “Any dispute relating to or arising out of this agreement

 shall be resolved by arbitration before three arbitrators in the City of New York under the rules

 then obtaining of the American Arbitration Association.” Id.

        Plaintiff’s husband was a non-operating partner of Kwik Ticket. Spiewak Decl. at ¶ 9, Dkt.

 No. 21. When Plaintiff’s husband passed away nearly two decades ago, Plaintiff alleges that his

 interest passed to Plaintiff. Id. Plaintiff, like her husband, was not involved in running Kwik

 Ticket or in its management. Id. at ¶¶ 6-10. Plaintiff’s son, Isaac Shamah, was similarly not

 involved in the management and operations of the company, and he was never an officer, director,

 manager, or employee of Kwik Ticket. Id. at ¶ 11.

 II.    Plaintiff’s Son Tried Taking Over Kwik Ticket, But Kwik Ticket Obtained A TRO
        In State Court That Barred Plaintiff’s Son From Interfering With The Company

        In September 2019, Isaac Shamah (Plaintiff’s son), began demanding that he be permitted

 to “run” Kwik Ticket. Id. at ¶¶ 12-34. When he was denied such a role, Isaac Shamah began

 interfering with the company’s operations, including by representing to customers that he was the

 CEO of Kwik Ticket and by contacting Kwik Ticket’s bank and impersonating Mr. Spiewak in

 order to redirect Kwik Ticket bank information to his mother’s residence. Id.

        To stop Isaac Shamah’s interference, on January 15, 2020, Kwik Ticket, through its counsel

 Goldberg, Weg and Markus PLLC, commenced an action in the Supreme Court of the State of

 New York, Kings County, titled Kwik Ticket Inc. v. Isaac Shamah et al., Index No. 501076/2020

 (the “State Court Action”). Spiewak Decl. at ¶ 35, Dkt. No. 21. The complaint sought a declaration

 from the state court that Isaac Shamah “has no authority to act on behalf of Kwik Ticket and is not


 4
  Plaintiff purports to be the successor-in-interest to her deceased husband, David Shamah. See
 Am. Compl. ¶ 10 (“Today (and for the past several years), Larry Spiewak owns 50%, and David
 Shamah’s wife, Florence Shamah, owns 50%.”).


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 the CEO of Kwik Ticket,” along with a permanent injunction that would prevent Isaac Shamah

 from “entering Kwik Ticket’s offices” and “taking any action on behalf of Kwik Ticket.”

 Declaration of L. Spiewak ¶¶ 71, 77, Dkt. No. 15-1. Kwik Ticket simultaneously sought a

 temporary restraining order (“TRO”) seeking the same relief. Dkt. No. 15-2.

         On January 15, 2020, Justice Larry D. Martin of the Supreme Court of New York, Kings

 County, granted the TRO. Dkt. No. 21-3. However, even the State Court TRO did not deter Isaac.

 Spiewak Decl. ¶ 38, Dkt. No. 21. On January 16, 2020, the very next day, after he was served

 with the TRO, Isaac intentionally violated the State Court TRO by accessing a Kwik Ticket bank

 account to transfer over $15,300 from Kwik Ticket’s account to pay his children’s private school

 tuition at the Magen David School in Brooklyn. Id. at ¶ 38, Ex. 4. On the same day, Isaac again

 violated the State Court TRO by charging nearly $1,000 in Knick’s basketball tickets to the

 company credit card. Id. at ¶ 39, Ex. 5.

         Isaac filed an “emergency” appeal of the state court TRO to the Appellate Division, Second

 Department, but the Appellate Division denied Isaac’s appeal on January 22, 2020, leaving the

 State Court TRO in place. Id. at ¶ 40, Ex. 3. More than a month later, on February 26, 2020,

 following another lengthy argument before Justice Martin in Kings County, where Isaac raised

 fabricated allegations of theft similar to those alleged here, the court extended the TRO against

 Isaac. Id. at ¶ 41, Ex. 6.

 III.    Plaintiff Responded By Filing This Action In Federal Court And Seeking A TRO That
         Would Give Her Control Of Kwik Ticket, But Judge Brodie And Judge Block Denied
         Her That Relief

         To retaliate against the Spiewaks for obtaining the TRO, Isaac, acting as the purported

 attorney in fact for his mother, Florence Shamah initiated this action on March 4, 2020, against

 Larry and Mindy Spiewak, Malkah Jacobovits, and Joel Boikess. See Compl., Dkt. No. 1. Both

 the original Complaint, and the Amended Complaint filed on June 11, 2021, are improperly


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 captioned “Kwik Ticket Inc., by its 50% owner, Florence Shamah. Id. Plaintiff purports to assert

 derivative claims on behalf of Kwik Ticket. Am. Compl. ¶ 1. However, it is well established that

 in a derivative lawsuit, the shareholder must name the corporation on whose behalf it is suing as

 the nominal defendant, not the plaintiff. See Thorsen v. Sons of Norway, 996 F. Supp. 2d 143, 152

 (E.D.N.Y. 2014) (“In derivative actions, the corporation must be named as a necessary nominal

 defendant.” (citing Meyer v. Fleming, 327 U.S. 161, 167 (1946))).

        The Complaint asserted two claims for RICO violations and nine common law claims

 based on allegations that the Spiewak Defendants had misappropriated funds from the company.

 Id. at ¶¶ 43-88. Plaintiff sought a TRO and a preliminary injunction in this Court that would allow

 her to control Kwik Ticket’s daily business operations. Dkt. No. 10.

        This Court (the Honorable Margo K. Brodie) held a hearing on March 20, 2020. See

 Transcript, Dkt. No. 21-7. The Court denied the TRO because Plaintiff failed to show any

 irreparable injury, as her alleged damages could be remedied by monetary damages. Id. at 34-36.

        Plaintiff then moved for a preliminary injunction, but the Court (now the Honorable

 Frederic Block) denied this request too. Dkt. No. 32. As with the TRO, the court found that a

 preliminary injunction was not appropriate here because “[Plaintiff’s] motion fails to establish the

 first prong—irreparable harm” because any injury could be remedied by monetary damages. Id.

 at 3. The court found that Plaintiff was unable to show any urgency: “That Plaintiff failed to seek

 injunctive relief until after she received an unfavorable decision in state court further ‘undercuts

 the sense of urgency that ordinarily accompanies a motion for preliminary relief and suggests that

 there is, in fact, no irreparable injury.’” Id. at 4-5 (citing Tough Traveler, Ltd. v. Outbound Prod.,

 60 F.3d 964, 968 (2d Cir. 1995)). The Court also held that granting the TRO “would confer rights




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 on Isaac Shamah that the state court’s TRO order enjoined” and therefore “Plaintiff’s motion is

 further barred by the Anti-Injunction Act . . . and the Rooker-Feldman Doctrine.” Id.

          Plaintiff filed an Amended Complaint in June 2021. Dkt. No. 83. The sole purpose of the

 Amended Complaint is to shame Mr. Spiewak and to harm his reputation. The primary addition

 to the Amended Complaint is a purported transcript of several off-color and sexual jokes that Mr.

 Spiewak allegedly made at work. Am. Compl. ¶¶ 18-53. These new allegations are irrelevant to

 Plaintiff’s claim that the Spiewak Defendants misappropriated funds from the company.

                                       LEGAL STANDARDS

          In reviewing a motion to compel arbitration, this Court “applies a standard similar to that

 applicable for a motion for summary judgment.” Bensadoun v. Jobe-Riat, 316 F.3d 171, 175 (2d

 Cir. 2003). Under this summary judgment standard, the Court considers “all relevant, admissible

 evidence submitted by the parties and contained in pleadings, depositions, answers to

 interrogatories, and admissions on file, together with . . . affidavits.” Nicosia v. Amazon.com, Inc.,

 834 F.3d 220, 229 (2d Cir. 2016) (citation omitted). When the “undisputed facts in the record

 require the matter of arbitrability to be decided against one side or the other as a matter of law, we

 may rule on the basis of that legal issue and avoid the need for further court proceedings.”

 Wachovia Bank, N.A. v. VCG Special Opportunities Master Fund, Ltd., 661 F.3d 164, 172 (2d Cir.

 2011).

          Meanwhile, in reviewing a motion to dismiss, a complaint must allege plausible facts

 sufficient “to raise a right to relief above the speculative level.” See Bell Atl. Corp. v. Twombly,

 550 U.S. 544, 555 (2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A “claim has

 facial plausibility when the plaintiff pleads factual content that allows the court to draw the

 reasonable inference” that the plaintiff is entitled to relief. Iqbal, 556 U.S. at 678 (citations

 omitted). Where the “well-pleaded facts do not permit the court to infer more than the mere


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 possibility” that a plaintiff is entitled to relief, dismissal is appropriate. Id. at 679; see also

 Twombly, 550 U.S. at 570 (where “plaintiffs . . . have not nudged their claims across the line from

 conceivable to plausible, their complaint must be dismissed”). Although factual allegations are

 assumed to be true, this tenet is “inapplicable to legal conclusions.” Iqbal, 556 U.S. at 678.

         Finally, the “standard that applies to a motion to strike is the ‘mirror image’ of the standard

 on a 12(b)(6) motion to dismiss for failure to state a claim.” Doe v. Indyke, 468 F. Supp. 3d 625,

 630 n.5 (S.D.N.Y. 2020).

                                             ARGUMENT

 I.      This Court Should Grant The Spiewak Defendants’ Motion To Compel

         A.        The Shareholders’ Agreement Requires Arbitration Of Plaintiff’s Claims
                   Against The Spiewak Defendants

         The Court should compel arbitration of the claims against the Spiewak Defendants because

 the claims relate to and arise out of the Shareholders’ Agreement. Mr. Spiewak is a signatory to

 that Agreement, and Mrs. Spiewak and Ms. Jacobovits are and were Kwik Ticket employees at all

 relevant times.

         The Federal Arbitration Act (“FAA”) requires courts to stay proceedings and compel

 arbitration of a plaintiff’s claims when the claims are arbitrable. 9 U.S.C. §§ 3, 4. Section 3 of

 the FAA provides for a stay of proceedings. It states that when a case involves an issue “referable

 to arbitration,” the court “shall on application of one of the parties stay the trial of the action until

 such arbitration has been had in accordance with the terms of the agreement . . . .” 9 U.S.C. § 3.

 Section 4 of the FAA provides for an order compelling arbitration. It states that a party “aggrieved

 by the alleged failure, neglect, or refusal of another to arbitrate under a written agreement for

 arbitration” can file a motion to compel in federal court, which the court must grant “upon being




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 satisfied that the making of the agreement for arbitration or the failure to comply therewith is not

 in issue.” 9 U.S.C. § 4.

         In deciding whether to grant a motion to compel arbitration, courts determine: “(1) whether

 the parties have entered into a valid agreement to arbitrate; and if so, (2) whether the dispute at

 issue comes within the scope of the arbitration agreement.” In re Am. Express Fin. Advisors Sec.

 Litig., 672 F.3d 113, 128 (2d Cir. 2011). Arbitration agreements are to be construed as broadly as

 possible, and any doubts must be resolved in favor of arbitration. Moses H. Cone Mem’l Hosp. v.

 Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983). “In determining the scope of an arbitration

 agreement, there is a presumption of arbitrability in the sense that ‘[a]n order to arbitrate the

 particular grievance should not be denied unless it may be said with positive assurance that the

 arbitration clause is not susceptible of an interpretation that covers the asserted dispute. Doubts

 should be resolved in favor of coverage.” Granite Rock Co. v. Int’l Bhd. of Teamsters, 561 U.S.

 287, 314 (2010).

         Given the strong policy favoring arbitration, it is “the party resisting arbitration [that] bears

 the burden of proving that the claims at issue are unsuitable for arbitration.” Green Tree Fin.

 Corp.-Alabama v. Randolph, 531 U.S. 79, 91 (2000); Shetiwy v. Midland Credit Mgmt., 959 F.

 Supp. 2d 469, 473 (S.D.N.Y. 2013) (“The party resisting arbitration bears the burden of

 demonstrating that the arbitration agreement is invalid or does not encompass the claims at

 issue.”).

         Here, the Kwik Ticket Shareholders’ Agreement contains a broad and unambiguous

 arbitration provision stating: “Any dispute relating to or arising out of this agreement shall be

 resolved by arbitration before three arbitrators in the City of New York under the rules then

 obtaining of the American Arbitration Association.” Dkt. No. 12-2 at ¶ 13, also attached as




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 Exhibit 1 to the Kadosh Declaration. See, e.g., Collins & Aikman Prods. Co. v. Bldg. Sys., 58

 F.3d 16, 20 (2d Cir. 2005) (holding that an arbitration clause applying to “any dispute” is “the

 paradigm of a broad clause”); Lozada v. Progressive Leasing, No. 15-cv-2812 (KAM)(JO), 2016

 WL 3620756, at *2 (E.D.N.Y. June 28, 2016) (collecting cases showing that broad arbitration

 clauses applying to “any dispute” create “a presumption of arbitrability”).

        Plaintiff’s claims in this case plainly fall within the scope of the broad arbitration provision

 that applies to “any dispute relating to or arising out of this agreement.” See Shareholders’

 Agreement ¶ 13. The Shareholders’ Agreement required Mr. Spiewak to “devote all of his time

 to the business of the Corporation.” Id. at ¶¶ 3-4. In consideration for his time, the Agreement

 provided that Mr. Spiewak would receive a salary, plus such additional compensation as may be

 authorized by the board of directors. Id. at ¶¶ 3(c)(2), 4(a).

        The Amended Complaint alleges that Spiewak Defendants misappropriated company

 assets for their personal gain or breached fiduciary duties to the company to enable the Spiewak

 Defendants to misappropriate company assets. See, e.g., Am. Compl. ¶¶ 61, 65, 69, 76, 79, 84,

 89, 92. Whether asserted by Plaintiff individually or derivatively on behalf of Kwik Ticket, these

 claims arise out of or relate to Mr. Spiewak’s compensation and/or alleged breach of duties to

 shareholders arising under the Shareholders’ Agreement. See Maresca v. La Certosa, 172 A.D.2d

 725, 726 (2d Dep’t 1991) (requiring arbitration of derivative claims concerning waste and

 conversion of corporate assets when the shareholders’ agreement mandated arbitration for “[a]ny

 dispute or controversy between the parties relating to or arising out of the affairs of the Corporation

 or this Agreement”).

        In addition, the Amended Complaint asserts three claims against Mr. Spiewak relating to

 his role as the President of Kwik Ticket. Am. Compl. ¶¶ 90-103. Specifically, the claim for breach




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 of contract alleges that “Larry Spiewak and Florence Shamah entered into agreements concerning,

 among other things, the compensation and other benefits to which they were respectively entitled”

 and that Mr. Spiewak allegedly breached those agreements by depriving Plaintiff of her “fair share

 of the Company profits and benefits and compensation . . . .” Id. at ¶¶ 91-92. This unnamed

 agreement is none other than the Shareholders’ Agreement, and this new claim also directly arises

 out of the Shareholders’ Agreement. The claim for repayment of legal fees alleges that Mr.

 Spiewak is using company funds to pay for personal legal expenses—a dispute that directly

 challenges Mr. Spiewak’s corporate authority as President of Kwik Ticket. Id. at ¶ 96. And finally,

 the claim for repayment of settlement funds relates to a past legal action that “the Company”

 settled, and this too relates to Mr. Spiewak’s authority to act on behalf of Kwik Ticket. Id. at ¶¶

 101-02. Plaintiff’s amendments only strengthen the argument that the claims against Mr. Spiewak

 must be submitted to arbitration.

        The claims against Mrs. Spiewak and Ms. Jacobovits must also be arbitrated because they

 are Kwik Ticket employees, Kwik Ticket is a signatory to the Shareholders’ Agreement, and

 Plaintiff’s claims against them arise out of and relate to the Shareholders’ Agreement. “Courts in

 this and other circuits consistently have held that employees or disclosed agents of an entity that

 is a party to an arbitration agreement are protected by that agreement.” Roby v. Corp. of Lloyd’s,

 996 F.2d 1353, 1360 (2d Cir. 1993) (holding that individual defendants were entitled to rely on

 arbitration provisions incorporated in their employers’ agreements with investors even though the

 individual defendants were not signatories to any of the agreements); see also Grand Wireless,

 Inc. v. Verizon Wireless, Inc., 748 F.3d 1, 13 (1st Cir. 2014); Hirschfeld Prods. v. Mirvish, 88

 N.Y.2d 1054, 1056 (1996).




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        Here, Plaintiff acknowledged that both Mrs. Spiewak and Ms. Jacobovits were employees

 of Kwik Ticket: Mrs. Spiewak “draws a substantial salary” from Kwik Ticket, and Ms. Jacobovits

 was “the office manager who maintained the books, made bank deposits and cashed Kwik Ticket

 checks . . . .” Am. Compl. ¶¶ 19, 20. The claims against Ms. Jacobovits and Mrs. Spiewak arise

 out of or relate to the Shareholders’ Agreement because Plaintiff alleges that they were acting in

 their capacity as employees or agents of Kwik Ticket when the breached their fiduciary duties or

 otherwise engaged in purported misconduct. Id. at ¶¶ 18-25. For example, Ms. Jacobovits was

 acting “at Mr. Spiewak’s direction” when she allegedly provided a company “check register” to

 facilitate payments of company funds to the defendants. Id. at ¶ 26. Therefore, as employees of

 Kwik Ticket facing claims related to their employment, Mrs. Spiewak and Ms. Jacobovits are

 protected by the arbitration provision in the Shareholders’ Agreement and may compel arbitration

 of Plaintiff’s claims through the Shareholders’ Agreement. See Roby, 996 F.2d at 1360.

        In short, Plaintiff’s claims are arbitrable under sections 3 and 4 of the FAA, and this

 Court should compel arbitration of her claims against the Spiewak Defendants.

        B.      The Court Also Should Compel Arbitration Of The Claims Against Mrs.
                Spiewak And Ms. Jacobovits Under Equitable Principles

        Even if Mrs. Spiewak and Ms. Jacobovits were not entitled to compel arbitration as agents

 of the signatory corporation, they would be entitled to compel arbitration based on equitable

 principles. The Second Circuit has long recognized that an arbitration agreement can be enforced

 by a non-signatory when “the issues the non-signatory is seeking to resolve in arbitration are

 intertwined with the agreement that the estopped party has signed.” Choctaw Generation LP v.

 Am. Home Assurance Co., 271 F.3d 403, 404 (2d Cir. 2001) (quoting Smith/Enron Cogeneration

 Ltd. Partnership, Inc. v. Smith Cogeneration Int’l, Inc., 198 F.3d 88, 98 (2d Cir. 1999)); Diaz v.

 Michigan Logistics Inc., 167 F. Supp. 3d 375, 382 (E.D.N.Y. 2016) (holding that a non-signatory



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 could bind the plaintiff to an arbitration agreement because the allegations were factually

 intertwined). In addition to having “intertwined” factual issues, there must also be “a relationship

 among the parties of a nature that justifies a conclusion that the party which agreed to arbitrate

 with another entity should be estopped from denying an obligation to arbitrate a similar dispute”

 with the non-signatory. Ragone v. Atl. Video at Manhattan Ctr., 595 F.3d 115, 127 (2d Cir. 2010)

 (quoting Sokol Holdings, Inc. v. BMB Munai, Inc., 542 F.3d 354, 359 (2d Cir. 2008)).

        Here, Plaintiff’s claims against Mrs. Spiewak and Ms. Jacobovits are intertwined with the

 claims against Mr. Spiewak. Plaintiff alleges that Mrs. Spiewak and Ms. Jacobovits participated

 in the alleged fraudulent scheme orchestrated by Mr. Spiewak. Am. Compl. ¶¶ 17-19. For

 example, the Amended Complaint states that “much of the misconduct engaged in by Mr. Spiewak

 came at the behest, instruction and demand of Mindy Spiewak, who personally benefited greatly

 from the fraudulent activities described herein, including Company-paid vacations and expensive

 jewelry.” Id. at ¶ 18. Similarly, the Amended Complaint alleges that Ms. Jacobovits would make

 out checks to cash and created false invoices at Mr. Spiewak’s behest. Id. at ¶¶ 17, 25-26. The

 claims against Mrs. Spiewak and Ms. Jacobovits are intertwined with the claims against Mr.

 Spiewak—if he did not defraud Kwik Ticket, neither did they.

        There is also “a relationship” between Plaintiff, Mr. Spiewak, Mrs. Spiewak, and Malkah

 Jacobovits “that justifies a conclusion” that Plaintiff is estopped from arbitrating claims against

 Mrs. Spiewak and Ms. Jacobovits relating to Kwik Ticket. Mrs. Spiewak is Mr. Spiewak’s wife

 and Ms. Jacobovits was Kwik Ticket’s long time office manager, and Plaintiff could reasonably

 foresee that she would be required to arbitrate claims against them that relate to Kwik Ticket.

        Mrs. Spiewak and Ms. Jacobovits are therefore entitled to compel the claims against them

 to arbitration based upon these equitable principles. See Diaz, 167 F. Supp. 3d at 382.




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        C.      The Court Should Stay The Claims Against Mrs. Spiewak And Ms. Jacobovits,
                Even If It Does Not Compel Arbitration Of Those Claims

        Even if this Court were to conclude that Mrs. Spiewak and Ms. Jacobovits are not entitled

 to enforce the arbitration clause in the Shareholders’ Agreement, it should nonetheless stay

 proceedings against them. “A stay is usually appropriate where arbitrable and non-arbitrable

 claims arise out of the same set of facts and arbitration may decide the same facts at issue in the

 litigation.” The Louis Berger Grp., Inc. v. State Bank of India, 802 F. Supp. 2d 482 (S.D.N.Y.

 2011). Courts therefore can stay collateral disputes against non-arbitrating parties pending an

 arbitration between related parties. Acquaire v. Canada Dry Bottling, 906 F. Supp. 819, 838

 (E.D.N.Y. 1995) (staying nonarbitrable claims pending arbitration; “[A]rbitration of plaintiffs’

 claims against defendants . . . will partially determine most of the issues raised against the other

 named defendants in this case. It appears at the very least that significant insight will be afforded

 the Court and the parties by the conduct and result of the arbitration . . . .”); see also NPS

 Commc’ns, Inc. v. Cont’l Grp., Inc., 760 F.2d 463, 465 (2d Cir. 1985) (staying the plaintiff’s

 antitrust action while the defendant’s contract claim was in arbitration even though the two claims

 “barely overlap”).

        Here, as explained above, Plaintiff bases her claims against Larry Spiewak, Mindy

 Spiewak, and Ms. Jacobovits on the same facts and transactions. See Am. Compl. ¶¶ 1, 54-111.

 Simultaneous arbitration of claims against Mr. Spiewak and litigation of claims against Mrs.

 Spiewak and Ms. Jacobovits could result in inconsistent and irreconcilable determinations of fact

 or liability. There is no way for Plaintiff to prevail on her claims against Mrs. Spiewak or Ms.

 Jacobovits without first prevailing on the claims against Mr. Spiewak. See id. Moreover, as a

 practical matter, the litigation against Mrs. Spiewak and Ms. Jacobovits can be stayed without

 prejudice to Plaintiff because these issues will be finally resolved by the arbitration, and forcing



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 these issues to be addressed simultaneously in arbitration and litigation would only hinder the

 timely and efficient resolution of these disputes. See id. Therefore, even if the claims against Mrs.

 Spiewak and Ms. Jacobovits are not compelled to arbitration, this Court should nonetheless stay

 them pending the outcome of the arbitration with Mr. Spiewak.5

 II.    Alternatively, This Court Should Grant The Spiewak Defendants’ Motion To Dismiss

        A.      Plaintiff Fails To State A RICO Claim Under 18 U.S.C. § 1962(c) Because She
                Is Unable To Plead An Enterprise, Two Or More Predicate Acts, Relatedness,
                Continuity, And Interstate Commerce

        Section 1962(c) of RICO makes it unlawful “for any person employed by or associated

 with any enterprise . . . to conduct or participate, directly or indirectly, in the conduct of such

 enterprise’s affairs through a pattern of racketeering activity . . . .” 18 U.S.C. § 1962(c). “To

 establish a RICO claim, a plaintiff must show: (1) a violation of the RICO statute, 18 U.S.C.

 § 1962; (2) an injury to business or property; and (3) that the injury was caused by the violation of

 Section 1962.” Spool v. World Child Int’l Adoption Agency, 520 F.3d 178, 183 (2d Cir. 2008)

 (citation omitted). To satisfy the first requirement, a plaintiff “must allege the existence of seven

 constituent elements: (1) that the defendant (2) through the commission of two or more acts (3)

 constituting a ‘pattern’ (4) of ‘racketeering activity’ (5) directly or indirectly invests in, or

 maintains an interest in, or participates in (6) an ‘enterprise’ (7) the activities of which affect



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   Plaintiff previously argued that the Spiewak Defendants waived their contractual right to compel
 arbitration, and the Spiewak Defendants addressed those arguments in prior briefing in this case.
 See Dkt. No. 68 at 14-17. A party resisting arbitration on waiver grounds has the burden to show
 that the moving party deliberately relinquished its contractual right to arbitrate. Thyssen, Inc. v.
 Calypso Shipping Corp., S.A., 310 F.3d 102, 104-05 (2d Cir. 2002) (“There is a strong presumption
 in favor of arbitration, and waiver of the right to arbitration is not to be lightly inferred.” (quoting
 Coca–Cola Bottling Co. v. Soft Drink & Brewery Workers Union Local 812, 242 F.3d 52, 57 (2d
 Cir. 2001)); PPG Indus., Inc. v. Webster Auto Parts Inc., 128 F.3d 103, 107 (2d Cir. 1997) (holding
 that any doubts regarding waiver should be resolved in favor of arbitration). If Plaintiff again
 raises her meritless waiver arguments in opposition to this motion, the Spiewak Defendants will
 address on reply any such arguments she may choose to raise.

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 interstate or foreign commerce.” Moss v. Morgan Stanley Inc., 719 F.2d 5, 17 (2d Cir. 1983).

 Each of these elements must be pled as to each individual defendant. See United States v. Persico,

 832 F.2d 705, 714 (2d Cir. 1987).

        Under well-established law, “RICO does not . . . federalize garden-variety state common-

 law causes of action.” Gross v. Waywell, 628 F. Supp. 2d 475, 485-99 (S.D.N.Y. 2009) (dismissing

 RICO claim based on allegation that employees embezzled company funds for personal expenses);

 see also Cofacredit S.A. v. Windsor Plumbing Supply Co., 187 F.3d 229, 242 (2d Cir. 1999) (“Mere

 common-law fraud does not constitute racketeering activity for RICO purposes.”). RICO claims

 should not be used to resolve mere fraud claims because “[c]ivil RICO is an unusually potent

 weapon—the litigation equivalent of a thermonuclear device.” Katzman v. Victoria’s Secret

 Catalogue, 167 F.R.D. 649, 656 (S.D.N.Y. 1996) (quoting Miranda v. Ponce Fed. Bank, 948 F.2d

 41, 44 (1st Cir. 1991)); see also Limestone Dev. Corp. v. Vill. of Lemont, 520 F.3d 797, 803 (7th

 Cir. 2008) (“RICO cases . . . are ‘big’ cases and the defendant should not be put to the expense of

 big-case discovery on the basis of a threadbare claim.”). “The offenses must be of a degree

 sufficiently serious not only to inflict injury upon its immediate private victims, but also to cause

 harm to significant public processes or institutions, or otherwise pose threats to larger societal

 interests worthy of the severe punitive and deterrent purposes embodied in the statute.” Gross, 628

 F. Supp. 2d 475, 481.

        As a result, when analyzing RICO claims, “courts must always be on the lookout for the

 putative RICO case that is really nothing more than an ordinary fraud case clothed in the Emperor’s

 trendy garb.” Goldfine v. Sickenzia, 118 F. Supp. 2d 392, 397 (S.D.N.Y.2000) (citation omitted);

 see also Gross, 628 F. Supp. 2d at 481 (“[E]xperience reveals that many plaintiffs, rather than

 fostering RICO’s mission as private attorneys general aiding public law enforcement, actually




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 appear as private prospectors digging for RICO’s elusive gold, and more often than not generating

 substantial costs rather than net gains to the public.”). Lawsuits based on state-court claims should

 not be allowed to proceed in federal court through frivolous RICO claims because the “[e]xercise

 of federal court jurisdiction in . . . cases . . . that rely on nothing more than incidental use of mails

 or wires in furtherance of a simple fraudulent scheme with few victims and narrow impacts, would

 threaten to federalize garden-variety state common law claims, and offer a remedy grossly out of

 proportion to any public harm or larger societal interests associated with localized wrongful

 conduct ordinarily involved in such actions.” Gross, 628 F. Supp. 2d at 482. Moreover, “[g]iven

 the routine use of mail and wire communications in business operations, . . . RICO claims premised

 on mail or wire fraud must be particularly scrutinized because of the relative ease with which a

 plaintiff may mold a RICO pattern from allegations that, upon closer scrutiny, do not support it.”

 Crawford v. Franklin Credit Mgmt. Corp., 758 F.3d 473, 489 (2d Cir. 2014) (citation omitted).

         Here, Plaintiff’s allegations are nothing more than “garden-variety” fraud, and under the

 intense level of scrutiny that this Court is required to apply, she fails to state a RICO claim under

 18 U.S.C. § 1962(c). Specifically, as explained below, she fails to show an enterprise, two or more

 predicate acts, relatedness, continuity, and interstate commerce.

                         Plaintiff Does Not Allege An Enterprise Because The Spiewak
                         Defendants Were Not Distinct From The Enterprise And Plaintiff
                         Failed To Allege The Enterprise’s Structure And Organization

         Plaintiff’s complaint does not contain sufficient allegations to establish an “enterprise.”

 The term “enterprise” is defined as “any individual, partnership, corporation, association, or other

 legal entity, and any union or group of individuals associated in fact although not a legal entity.”

 18 U.S.C. § 1961(4). The Supreme Court has explained that a RICO enterprise is “a group of

 persons associated together for a common purpose of engaging in a course of conduct,” the

 existence of which is proven “by evidence of an ongoing organization, formal or informal, and by


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 evidence that the various associates function as a continuing unit.” United States v. Turkette, 452

 U.S. 576, 583 (1981). A plaintiff may establish the existence of an enterprise “by evidence of an

 ongoing organization, formal or informal, and by evidence that the various associates function as

 a continuing unit.” Id.

         Crucially, the plaintiff must show “the existence of two distinct entities: (1) a ‘person’; and

 (2) an ‘enterprise’ that is not simply the same ‘person’ referred to by a different name.” Cedric

 Kushner Promotions Ltd. v. King, 533 U.S. 158, 161 (2001). “[T]he alleged ‘enterprise’ through

 which a pattern of racketeering activity is conducted must be distinct from those persons who stand

 accused of conducting that racketeering activity. In other words, the same entity can not appear

 as both the RICO ‘enterprise’ and a defendant in the same action.” Tuscano v. Tuscano, 403 F.

 Supp. 2d 214, 226 (E.D.N.Y. 2005) (citing Anatian v. Coutts Bank, 193 F.3d 85, 88-89 (2d Cir.

 1999)). “The requirement of distinctness cannot be evaded by alleging that a corporation has

 violated the statute by conducting an enterprise that consists of itself plus all or some of its officers

 or employees.” Cruz v. FXDirectDealer, LLC, 720 F.3d 115, 121 (2d Cir. 2013).

         In Gross v. Waywell, the Southern District of New York applied the distinctness

 requirement in a case with a fact pattern like this one. The plaintiff in Gross was the director and

 90% owner of a tennis club, and he sued several of the club’s officers under RICO for taking

 company funds and using them to pay for their personal expenses. 628 F. Supp. 2d at 483-84. The

 director alleged that the officers had concealed their expenditures by making checks out for cash

 or for unknown vendors and then hiding those payments with the help of the tennis club’s

 bookkeeper. Id. The director argued that the “enterprise” consisted, in part, of “the legitimate

 [tennis club], of which all of the Management Defendants were employees and which they used as

 the means to carry out racketeering activities.” Id. at 498. The court, however, rejected this as




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 being an “enterprise” because the allegations “blur[red] the necessary distinction between the

 ‘person’ who unlawfully conducts the affairs of an ‘enterprise’ and the enterprise itself.” Id. at

 498. The court found that this case did not involve an “enterprise” but simple “self-dealing.” Id.

 at 499.

           Here, Plaintiff asserts that Kwik Ticket was the RICO enterprise. Am. Compl. ¶¶ 55-56.

 But, because Plaintiff is asserting derivative claims, she was required to name Kwik Ticket as a

 defendant. See Thorsen, 996 F. Supp. 2d at 152 (“In derivative actions, the corporation must be

 named as a necessary nominal defendant.”). Plaintiff acknowledged this point when she alleges

 that Kwik Ticket “is properly aligned as a defendant since the management of the Company resists

 and opposes this action.” Am. Compl. ¶ 9. However, Plaintiff realized that she would not be able

 to assert a RICO claim with Kwik Ticket as a defendant because “the same entity cannot appear

 as both the RICO ‘enterprise’ and a defendant in the same action.” Tuscano, 403 F. Supp. 2d at

 226. Plaintiff therefore played fast and loose with her identification of Kwik Ticket, sometimes

 labeling it as a plaintiff and sometimes as a defendant. As this is a derivative action, Kwik Ticket

 must be named as a defendant, and Plaintiff has not identified a separate “enterprise.”

 Accordingly, her RICO claim must be dismissed. See Gross, 628 F. Supp. 2d at 498-99 (“[T]hese

 allegations blur the necessary distinction between the ‘person’ who unlawfully conducts the affairs

 of an ‘enterprise’ and the enterprise itself. To this extent, the pleadings raise substantial confusion

 as to who constitutes the person and the victim, or the person and the tool.” (citation omitted)).

           Additionally, Plaintiff’s allegations all focus on purported wrongdoing of the defendants

 who were allegedly acting on their own personal interests as they purportedly stole money from

 the company. Am. Compl. ¶¶ 18-53. By alleging only that the Spiewak Defendants acted on

 behalf of their own personal interests, Plaintiff fails to establish that there was an “enterprise” for




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 RICO.    See Cedric Kushner, 533 U.S. at 163 (holding that a RICO defendant must have

 “participated in the conduct of the enterprise’s affairs, not just their own affairs”).

         Plaintiff’s enterprise allegations also fail because a plaintiff must also be able to allege the

 structure and organization of the purported enterprise. Conte v. Newsday, 703 F. Supp. 2d 126,

 134 (E.D.N.Y. 2010) (dismissing a RICO claim for failure to allege the structure and organization

 of the enterprise); United States v. Int’l Longshoremen’s Ass’n, 518 F. Supp. 2d 422, 475

 (E.D.N.Y. 2007) (“The Amended Complaint contains virtually no allegations regarding the

 structure and organization of the alleged [enterprise], and leaves a plethora of unanswered

 questions regarding the membership, purpose, and structure of that entity.”). These requirements

 are necessary to show that the enterprise functions “as a unit.” First Capital Asset Mgmt., Inc. v.

 Satinwood, Inc., 385 F.3d 159, 174-75 (2d Cir. 2004) (finding no enterprise where plaintiffs “failed

 to provide [the court] with any solid information regarding the hierarchy, organization, and

 activities of this alleged association-in-fact enterprise from which [the court] could fairly conclude

 that its members functioned as a unit” (internal quotation marks and citations omitted)); Rosner v.

 Bank of China, 528 F. Supp. 2d 419, 429 (S.D.N.Y. 2007) (holding that the plaintiff failed to

 sufficiently allege an enterprise because no allegations demonstrated how defendants “improperly

 functioned as a unit”). Merely “list[ing] a variety of defendants” does not amount to an enterprise.

 Conte, 703 F. Supp. 2d at 134. Plaintiff did not allege any details about the structure and

 organization of the purported enterprise, and her RICO claim fails for this reason as well. See

 Conte, 703 F. Supp. 2d at 134; Int’l Longshoremen’s Ass’n, 518 F. Supp. 2d at 475.

                         Plaintiff Does Not Adequately Plead The Existence of Predicate RICO
                         Acts

         A pattern of racketeering requires “at least two acts of racketeering activity, . . . the last of

 which occurred within ten years . . . after the commission of a prior act of racketeering activity.”



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 18 U.S.C. § 1961(5). “Racketeering activity,” in turn, is defined to include a variety of criminal

 acts under state and federal law, including mail fraud, 18 U.S.C. § 1341, wire fraud, 18 U.S.C.

 § 1343, and money laundering, 18 U.S.C. § 1956. 18 U.S.C. § 1961(1).

        To show mail or wire fraud, a complaint must show “(1) the existence of a scheme to

 defraud, (2) defendant’s knowing or intentional participation in the scheme, and (3) the use of

 interstate mails or transmission facilities in furtherance of the scheme.” S.Q.K.F.C., Inc. v. Bell

 Atl. TriCon Leasing Corp., 84 F.3d 629, 633 (2d Cir. 1996). Even though a plaintiff may identify

 multiple instances of mail fraud, “multiple acts of mail fraud in furtherance of a single episode of

 fraud involving one victim and relating to one basic transaction cannot constitute the necessary

 pattern.” Crawford v. Franklin Credit Mgmt. Corp., 758 F.3d 473, 489 (2d Cir. 2014). These

 claims sound in fraud, and a plaintiff must therefore satisfy Rule 9(b) of the Federal Rules of Civil

 Procedure, which requires that the circumstances constituting fraud be stated “with particularity.”

 Lundy v. Catholic Health Sys. of Long Island Inc., 711 F.3d 106, 119 (2d Cir. 2013). A claim of

 mail fraud must thus typically specify the content, date, and place of any misrepresentations, and

 the identity of the persons making them. Wexner v. First Manhattan Co., 902 F.2d 169, 172-73

 (2d Cir. 1990); see also Anatian v. Coutts Bank (Switzerland) Ltd., 193 F.3d 85, 88 (2d Cir. 1999).

 When a case has multiple defendants, the plaintiff must allege facts specifying each defendant’s

 contribution to the fraud. DiVittorio v. Equidyne Extractive Indus., Inc., 822 F.2d 1242, 1247 (2d

 Cir. 1987). Finally, “RICO claims premised on mail or wire fraud must be particularly scrutinized

 because of the relative ease with which a plaintiff may mold a RICO pattern from allegations that,

 upon closer scrutiny, do not support it.” Gross, 628 F. Supp. 2d at 493.

        To show money laundering, a complaint must show “(1) that the defendant conducted a

 financial transaction; (2) that the transaction in fact involved the proceeds of specified unlawful




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 activity as defined in § 1956(c)(7); (3) that the defendant knew that the property involved in the

 financial transaction represented the proceeds of some form of unlawful activity; and (4) that the

 defendant knew that the financial transaction was designed in whole or in part to conceal or

 disguise the source, ownership, control, etc., of those proceeds.” United States v. Maher, 108 F.3d

 1513, 1527-28 (2d Cir. 1997). The underlying “unlawful activity” alleged to make out a violation

 of 18 U.S.C. § 1956 must be distinct from the act of money laundering itself. United States v.

 Szur, 289 F.3d 200, 213-14 (2d Cir. 2002).

        Here, Plaintiff makes only conclusory assertions that the requisite two acts are present.

 When Plaintiff alleges that the Spiewak Defendants engaged in mail fraud, wire fraud, and money

 laundering, she simply recites the standard definitions of those crimes and does not provide any

 specific instances of such acts. Am. Compl. ¶ 58. Plaintiff refers generically back to her earlier

 allegations to support her claim, but even the full recitation of allegations does not reveal the

 requisite acts. See id. at ¶¶ 23-37. The allegations only reference a mailing in the allegation that

 Plaintiff had made her son her attorney-in-fact to deal with this case. See id. at ¶ 24. The

 allegations do not identify any specific instances of wire transfers or money laundering. See id. at

 ¶¶ 23-37. Instead, Plaintiff’s case is mostly based on allegations that the Spiewak Defendants

 wrote fake checks and fictitious invoices, but these allegations are not accompanied by assertions

 that the checks or invoices were transmitted by mail or by wire. See id. To the extent that the

 fraudulent checks or fictitious invoices amounted to improper financial transactions, Plaintiff

 makes no allegations of an underlying “unlawful activity” to bring the transactions within the

 definition of money laundering. See id. At no point does the Amended Complaint identify

 anything specific regarding any acts, and as a result, none of Plaintiff’s allegations come close to




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 providing the particularity required by Rule 9(b). See id. Plaintiff therefore fails to identify the

 required two acts for a RICO claim.

                        Plaintiff Does Not Allege A Pattern Of Racketeering Activity Because
                        The Predicate Acts Are Not Related

        In addition to identifying at least two predicate acts, a plaintiff also has to show that those

 predicate acts are related. H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 239 (1989). Predicate acts

 are related when they “have the same or similar purposes, results, participants, victims, or methods

 of commission, or otherwise are interrelated by distinguishing characteristics and are not isolated

 events.” Id. at 240. The Second Circuit has further held that “predicate acts must be related to

 each other (‘horizontal’ relatedness), and they must be related to the enterprise (‘vertical’

 relatedness).” United States v. Daidone, 471 F.3d 371, 375 (2d Cir. 2006) (citation omitted).

        To show that the predicate acts are vertically related to the RICO enterprise, the plaintiff

 must show either that the defendant “was enabled to commit the predicate offenses solely by virtue

 of his position in the enterprise or involvement in or control over the affairs of the enterprise,” or

 that “the predicate offenses are related to the activities of that enterprise.” United States v.

 Minicone, 960 F.2d 1099, 1106 (2d Cir.1992). A predicate act is related to the enterprise if “the

 offense related to the activities of the enterprise.” United States v. Burden, 600 F.3d 204, 216 (2d

 Cir. 2010). Meanwhile, one way to show that predicate acts are horizontally related to each other

 is to show that the “each predicate act is related to the enterprise.” United States v. Polanco, 145

 F.3d 536, 541 (2d Cir.1998).

        Here, however, Plaintiff lacks both an enterprise and the requisite two predicate acts, so

 Plaintiff is understandably unable to show any relatedness. Nonetheless, to the extent that the

 Spiewak Defendants engaged in wrongdoing, it was not related to an overall scheme involving an




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 enterprise’s legitimate business, but was simply the result of one-off examples of purported theft

 from the company. See Am. Compl. ¶¶ 23-37. Without relatedness, the RICO claim fails.

                         Plaintiff Does Not Allege A Pattern Of Racketeering Activity Because
                         The Predicate Acts Lack Continuity

         A plaintiff must also show that the predicate acts “amount to, or . . . otherwise constitute a

 threat of, continuing racketeering activity.” H.J. Inc., 492 U.S. at 240. Continuity is “centrally a

 temporal concept” that “is both a closed- and open-ended concept, referring either to a closed

 period of repeated conduct, or to past conduct that by its nature projects into the future with a threat

 of repetition.” Id. at 241-42.

        Closed-ended continuity requires a “series of related predicates extending over a

 substantial period of time.” Spool, 520 F.3d at 184 (citation omitted). Since the Supreme Court

 decided H.J. Inc., the Second Circuit has “never held a period of less than two years to constitute

 a substantial period of time.” Id. (citation omitted). “[W]hile two years may be the minimum

 duration necessary . . . , the mere fact that predicate acts span two years is insufficient, without

 more, to support a finding of a closed-ended pattern.” First Capital, 385 F.3d at 181. The relevant

 period of time for evaluating continuity is “the time during which RICO predicate activity

 occurred, not the time during which the underlying scheme operated.” Spool, 520 F.3d at 184.

 The Second Circuit has also identified several other factors for a court to consider in determining

 whether closed-ended continuity exists, “including, inter alia, . . . the number and variety of acts,

 the number of participants, the number of victims, and the presence of separate schemes.” GICC

 Capital Corp. v. Tech. Fin. Group, Inc., 67 F.3d 463, 467 (2d Cir.1995); see also Mathon v. Marine

 Midland Bank, N.A., 875 F. Supp. 986, 998 (E.D.N.Y. 1995).

        Comparatively, open-ended continuity requires the plaintiff to show that “a threat of

 continuity exists [by looking] first to the nature of the predicate acts alleged or to the nature of the



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 enterprise at whose behest the predicate acts were performed.” GICC Capital Corp., 67 F.3d at

 466. Where the predicate acts alleged are associated with a business that is not inherently unlawful,

 “courts generally have found no threat of continuing criminal activity arising from [the nature of

 the] conduct that extended over even long[ ] periods.” Cofacredit, 187 F.3d at 243. Similarly,

 when an enterprise primarily conducts a legitimate business, “there must be some evidence from

 which it may be inferred that the predicate acts were the regular way of operating that business, or

 that the nature of the predicate acts themselves implies a threat of continued criminal activity.” Id.

 Some predicate acts are part of schemes that are “inherently terminable,” such as the looting of a

 company’s assets, and those schemes do not have open-ended continuity. GICC Capital Corp.,

 67 F.3d at 466. In the same vein, irregular fraudulent transactions are insufficient to establish a

 business model based on fraud. See Kalimantano GmbH v. Motion in Time, Inc., 939 F. Supp. 2d

 392, 407 (S.D.N.Y. 2013).

        “Courts in this Circuit have held repeatedly that allegations of RICO violations involving

 solely mail and wire fraud or little other variety in the predicate acts, a limited number of

 participants or victims, a discrete scheme with a narrow purpose or a single property—as opposed

 to complex, multi-faceted schemes—are generally insufficient to demonstrate closed-ended

 continuity, and thus to satisfy to “pattern” element of a plausible RICO claim.” Gross, 628 F. Supp.

 2d at 494.


        In this case, Plaintiff’s allegations do not show closed-ended continuity. Plaintiff does not

 contain specific dates for many of her allegations, but to the extent that she identifies a timeframe

 for her claims, many of the examples of purported fraud began in 2017, Am. Compl. ¶ 27, and

 ended in 2019 when Plaintiff discovered the purportedly fraudulent conduct and hired counsel, id.

 at ¶ 40. This time period was only two years, and during that limited time, Plaintiff alleges that



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 the Spiewak Defendants took money from only one victim: Kwik Ticket, and to the extent that

 hurt a shareholder, it only hurt one shareholder—Plaintiff. Id. at ¶¶ 1, 10. Additionally, Plaintiff

 alleges a limited scheme that is relatively simple, and is based only on allegations that the three

 Spiewak Defendants occasionally wrote themselves fraudulent checks justified by fictitious

 invoices. See Am. Compl. ¶¶ 23-37. These purported predicate acts occurred on an irregular basis,

 and were isolated and sporadic events. See id.

        Plaintiff’s allegations also do not support a showing of open-ended continuity. Kwik

 Ticket is a legitimate business formed in 1979 with approximately $7 million in revenue per year.

 Am. Compl. ¶¶ 9, 19, 21. Plaintiff does not allege that Kwik Ticket exists solely to be a criminal

 enterprise. See id. Although Plaintiff bases her complaint on allegations of fraudulent checks and

 fictitious invoices, these incidents were one-off events that were not built into Kwik Ticket’s

 legitimate business model. See id. at ¶¶ 18-53. Additionally, any purported “looting” of Kwik

 Ticket’s funds was not built into the structure of the company, and the allegations merely show

 actions that are “inherently terminable” based on the company’s revenue. See id. Although

 Plaintiff speculates that the Spiewak Defendants can resume their purportedly fraudulent conduct,

 she does so simply based on the fact that the State Court action issued a temporary restraining

 order preventing her son from interfering with the business operations at Kwik Ticket. See id. at

 ¶¶ 44-45. This merely shows the extent to which Plaintiff and her son overstepped their role in

 Kwik Ticket’s management, and it says nothing about the way that Kwik Ticket currently operates.

 See id. Overall, without closed- or open-continuity, Plaintiff fails to show a pattern of predicate

 acts for her RICO claim.




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                        Plaintiff Does Not Allege Interstate Commerce Because All Relevant
                        Activities Occurred In New York

        All of RICO’s subsections require an enterprise that “is engaged in, or the activities of

 which affect, interstate or foreign commerce.” 18 U.S.C. § 1962(a)-(c). The interstate commerce

 prong is RICO’s “jurisdictional element.” United States v. Barton, 647 F.2d 224, 233 (2d Cir.

 1981). Here, Plaintiff’s Amended Complaint states that the relevant Defendants live and transact

 in New York, and it does not allege that any of the purported fraudulent acts involved interstate

 commerce. See Am. Compl. ¶ 10. Plaintiff’s allegations are therefore not sufficient to establish

 interstate commerce.

        B.      Plaintiff Fails To State A RICO Claim Under 18 U.S.C. § 1962(d) Because Her
                RICO Claim Under 18 U.S.C. § 1962(c) Failed As Well

        Pursuant to 18 U.S.C. § 1962(d), “[i]t shall be unlawful for any person to conspire to violate

 any of the provisions of subsection (a), (b), or (c) of this section.” Accordingly, when a plaintiff

 fails to “state a cause of action for substantive violations of RICO, [the plaintiff also] does not set

 forth a conspiracy to commit such violations.” Discon, Inc. v. NYNEX Corp., 93 F.3d 1055, 1064

 (2d Cir. 1996), vacated on other grounds by NYNEX Corp. v. Discon, Inc., 525 U.S. 128, 119 S.

 Ct. 493 (1998); see also First Capital, 385 F.3d at 182 (dismissing a claim under 18 U.S.C.

 § 1962(d) because the plaintiff failed to allege a substantive violation of RICO). Here, as discussed

 above, Plaintiff failed to state a claim for a substantive RICO violation under 18 U.S.C. § 1962(c),

 and she therefore has no basis to state a corresponding claim under 18 U.S.C. § 1962(d). See

 Discon, 93 F.3d at 1064. This Court must therefore dismiss this claim as well.

        C.      Plaintiff Fails To State A Claim For Conversion Because Control Of A
                Business Is Not “Property” Under A Conversion Claim

        In order to assert a conversion claim, a plaintiff must establish that the defendant

 “intentionally and without authority, assumes or exercises control over personal property



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 belonging to someone else, interfering with that person’s right of possession.” Colavito v N.Y.

 Organ Donor Network, Inc., 8 N.Y.3d 43, 49-50 (2006). The property at issue in a conversion

 claim “must constitute identifiable tangible personal property; real property and interests in

 business opportunities will not suffice.” ARB Upstate Commc’ns LLC v R.J. Reuter, L.L.C., 93

 A.D.3d 929, 931-32 (2012). An ownership share in a company is “a type of intangible property

 that could not be the subject of a conversion claim.” Saleeby v. Remco Maint., LLC, 148 A.D.3d

 570, 570-71 (1st Dep’t 2017); see also C & B Enters. USA, LLC v. Koegel, 136 A.D.3d 957, 958-

 59 (2d Dep’t 2016) (holding that the alleged “interference with the right of [a company’s]

 possession of its Property” and interference “with [the individual plaintiff’s] right to possession of

 his ownership of [the company]” could not be used to establish conversion). Similarly “an action

 for conversion of money will lie [only] where there is a specific, identifiable fund and an obligation

 to return or otherwise treat in a particular manner the specific fund in question.” High View Fund,

 L.P. v. Hall, 27 F. Supp. 2d 420, 429 (S.D.N.Y. 1998). “More particularly, if the allegedly

 converted money is incapable of being described or identified in the same manner as a specific

 chattel, it is not the proper subject of a conversion action.” Id. (dismissing conversion claim

 alleging that manager misappropriated $1 million investment).

        Here, Plaintiff alleges that Mr. Spiewak and Ms. Jacobovits “exercised the right of

 ownership over property belonging to the Company, to the exclusion of the Company’s rights.”

 Am. Compl. ¶ 103. But these allegations about an individual plaintiff’s purported ability to own

 and control a company do not provide the requisite “property” that a conversion claim addresses.

 See Saleeby, 148 A.D.3d at 570-71. This Court should therefore dismiss Plaintiff’s claim for

 conversion.




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        D.      Plaintiff Fails To State A Claim For A Preliminary And Permanent Injunction
                Because There Is No Irreparable Harm

        Claims for a preliminary or permanent injunction require a plaintiff to establish that it will

 be irreparably injured absent the injunctive relief. Aetna Ins. Co. v. Capasso, 75 N.Y.2d 860, 862

 (1990); Caruso v. Bumgarner, 120 A.D.3d 1174, 1175 (2d Dep’t 2014). To establish irreparable

 harm, a plaintiff must establish “an injury that is neither remote nor speculative, but actual and

 imminent and that cannot be remedied by an award of monetary damages.” Shapiro v. Cadman

 Towers, Inc., 51 F.3d 328, 332 (2d Cir. 1995) (internal quotation omitted).

        Here, however, this Court has already ruled that no irreparable harm is present in Plaintiff’s

 claims. When Plaintiff moved for a preliminary injunction and a temporary restraining order, this

 Court ruled that (1) there was no irreparable harm because any injury could be compensable

 through money damages and (2) there was no irreparable harm because Plaintiff had delayed

 bringing her claims in federal court until after she lost multiple rulings in the related state court

 proceedings. The Court held:

                Plaintiff argues that without a TRO she will be irreparably harmed by the
        loss of “her rightful voice in management” and concomitant ability to “protect
        [against] the theft and misconduct” that Defendants allegedly perpetrated. But
        whatever “theft” of Kwik Ticket’s assets occurred, if any, the ensuing harm to
        Plaintiff is redressable through an award of money damages at the end of trial. See
        A.X.M.S. Corp. v. Friedman, 948 F. Supp. 2d 319, 337 (S.D.N.Y. 2013) (claims for
        “breaches fiduciary duty [and] waste of company assets . . . are classic money
        damages lawsuits”). “[I]t is settled law that when an injury is compensable through
        money damages there is no irreparable harm.” JSG Trading Corp. v. Tray–Wrap,
        Inc., 917 F.2d 75, 78-79 (2d Cir.1990); see also Register.com, Inc. v. Verio, Inc.,
        356 F.3d 393, 427 (2d Cir. 2004) (“Where money damages are adequate
        compensation a preliminary injunction should not issue.” (internal quote omitted)).

                Also, while Plaintiff states that the “essence” of her TRO application is the
        “restoration of the [2019] corporate resolution,” that resolution expired by its own
        terms in October 2019, five months before Plaintiff sought injunctive relief. If
        Plaintiff sought to prevent some injury that followed from the expiration of the
        2019 resolution, she fails to adequately explain why she waited nearly half a year
        after the resolution expired to do so. See Gidatex, S.r.L. v. Campaniello Imports,
        Ltd., 13 F. Supp. 2d 417, 419 (S.D.N.Y. 1998) (“Courts typically decline to grant


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        preliminary injunctions in the face of unexplained delays of more than two
        months.”). Notably, Plaintiff brought this suit (and moved for injunctive relief)
        only after Kwik Ticket filed its own complaint in New York state court and
        successfully moved for [a] TRO against Plaintiff’s son and attorney-in-fact, Issac
        Shamah. That Plaintiff failed to seek injunctive relief until after she received an
        unfavorable decision in state court further “undercuts the sense of urgency that
        ordinarily accompanies a motion for preliminary relief and suggests that there is, in
        fact, no irreparable injury.” Tough Traveler, Ltd. v. Outbound Prod., 60 F.3d 964,
        968 (2d Cir. 1995).

 Dkt. No. 32 at 3-5 (footnotes omitted). This Court’s prior ruling remain accurate at the motion to

 dismiss stage, where Plaintiff makes only a cursory allegation that irreparable injury is present.

 Am. Compl. ¶ 110. Therefore, because Plaintiff is unable to show any irreparable harm, her

 preliminary and permanent injunction claim must be dismissed.

 III.   This Court Should Strike Paragraphs 49 To 53 And Corresponding Exhibits N And
        O Because They Are Immaterial, Impertinent, And Scandalous

        Rule 12(f) of the Federal Rules of Civil Procedure states that this Court “may strike from

 a pleading an insufficient defense or any redundant, immaterial, impertinent, or scandalous

 matter.” Fed. R. Civ. P. 12(f). This rule is “designed to reinforce the requirement in Rule 8(c)

 that pleadings be simple, concise, and direct.” In re Merrill Lynch & Co., Inc. Research Reports

 Sec. Litig., 218 F.R.D. 76, 78 (S.D. N.Y. 2003) (citation omitted). Allegations in a complaint “may

 be stricken if they have no real bearing on the case, will likely prejudice the movant, or where they

 have criminal overtones.” G-I Holdings, Inc. v. Baron & Budd, 238 F. Supp. 2d 521, 555

 (S.D.N.Y. 2002) (citations omitted); see also 5A Wright, Miller & Marcus, Fed. Prac. & Proc.:

 Civil 2d § 1382, at 714 (West 1994 & Supp. 2001) (“[S]candalous allegations . . . will often be

 stricken from the pleadings in order to purge the court’s files and protect the subject of the

 allegations.”). Accordingly, courts routinely strike allegations of a sexual nature that are not

 relevant to a plaintiff’s claims. E.g., Donahue v. Asia TV USA Ltd., 208 F. Supp. 3d 505, 517

 (S.D.N.Y. 2016) (striking allegations about the employer’s alleged sexual harassment of the



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 plaintiff’s coworker because the alleged harassment was not relevant to plaintiff’s claim for

 employment discrimination based on national origin and age); Parrish v. Sollecito, No. 01 CIV

 5420 (VM), 2002 WL 1072227, at *1-2 (S.D.N.Y. May 28, 2002) (striking allegations about an

 extramarital affair with one of his employees for not being relevant to the plaintiff’s allegations

 about the hostile work environment she allegedly experienced); Smith v. AVSC Int’l, Inc., 148 F.

 Supp. 2d 302, 305, 317-18 (S.D.N.Y. 2001) (striking allegations about the defendant’s alleged

 sexual and racial harassment of women and minorities because such allegations were not relevant

 to the hostile work environment claim brought by an older white man).

        Here, Plaintiff amended the complaint with the sole and express purpose of attempting to

 shame Mr. Spiewak by including purported transcripts of off-color jokes that Mr. Spiewak

 allegedly made. Am. Compl. ¶¶ 49-53. These scandalous allegations have absolutely no bearing

 on Plaintiff’s allegation that Mr. Spiewak embezzled money from Kwik Ticket. Plaintiff even

 uploaded surreptitious recordings of this off-color humor to YouTube, and included the links to

 the YouTube recordings in the Amended Complaint. Am. Compl. Exs. N, O. This type of practice

 is an abuse of Mr. Spiewak and the Court, and has no place in the Eastern District.

        Plaintiff attempts to justify including the transcripts of these alleged conversations by

 claiming that Kwik Ticket paid settlement amounts and legal fees in connection with these alleged

 conversations. This allegation is false, but even if it were true, it does not justify in any way

 including alleged transcripts of the off-color humor and posting them to YouTube. Plaintiff could

 have made the same exact claim by simply alleging that Mr. Spiewak caused Kwik Ticket to pay

 for settlements based on his personal conduct. These allegations are more prejudicial than

 informative, and this Court should accordingly strike Paragraphs 49 to 53 of the Amended




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 Complaint, and Exhibits N & O pursuant to Rule 12(f). See Donahue, 208 F. Supp. 3d at 517;

 Parrish, 2002 WL 1072227, at *1-2; Smith, 148 F. Supp. 2d at 305, 317-18.

                                          CONCLUSION

        For the foregoing reasons, this Court should grant the Spiewak Defendants’ Motions, along

 with such other and further relief as the Court deems just, proper, and equitable.


 Dated: New York, New York
        July 9, 2021
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